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"NOTICE"

UNITED STATES PROBATION DEPARTMENT
UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF _\J\¢ Guna (Yosteen )

RE: UNITED STATES -and-- TAYQON TYREE WEEISS 1, DocketNo.: LiY-CRoosis Se =. *

Dear Sir/Mam,

 

The purpose of this letter entitled "NOTICE" Is due to the above mentioned subject matter, First, and foremost ! would like
to thank you In advance for your time and assistance, | will attempt to make this correspondence as brief and precise as
possible;

Recently, | was made aware of the Federal Structure regarding the Statute's and Constitutional limitations that where implied
within the above mention subject matter, therefore | Conk here-in-after Petitioner, do
declare and affirm | am above the age of 21, competent to state the following:

1. Petitioner in the year 2plU__ was arrested in Vi Cobo State, for purported crimes in
Viceinin ‘State, a State of the Union, wilich would of granted local State Police Original Jurisdiction of
accused Body, as well as, Cognizance of purported offenses; ;

 

2. Petitioner in the year 2O\UL.. was charged In a Federal Indictment by Authorities federal docket entry 444-CR-90343-Ts& In
Vitoinio State, for purported crimes committed within __ ican. nuio, State, a

State of the Union, for matters that are local, and outside of Federal intervention, based on thé Constitutional provisions

established and geared towards the State's of the Union which are protected from Federal Legislation within the Constitution for

the United States Article | section 8 clause 17;

3. Petitioner was prosecuted in the United States District Court of ‘Caw: ecn a Court found to
be established pursuant to Title 28 U.S.C. Part 1, Chapter 5, Section(s) 8T-131, which is authorized by Congress to handle clvil
matters within. Title 28 U.S.C. Part 4, Chapter 85, section(s) 1330-1369, as Petitioner believe's section 1345 "United States as a
Plaintiff’ quoting *....shall have original jurisdiction of all civil actions..";

4. Pétitioner was prosecuted and sentenced pursuant to Title 18 of the United States Code, which Title 18 U.S.C. Part 1,
Chapter 1, Section 23 "Court of the United States defined" only establishes Guam, Mariana Islands, and Virgin Islands within
Title 18 U.S.C... ; .

-f

5. Petitioner asserts for the record, that he was charged criminally utilizing Title 18 U.S.C., a Title which was established by
Congress to handle matters in Guam, Mariana Islands, and Virgin Islands only, hence, such Title, Title 18 U.S.C. was utilized
outside of Congressional Intent, thus rendering such pervasive manner of prosecution as fraud against his person,

6. Petitioner asserts for the record, that he was denied criminal due process of law, due to the above mentioned fact, that the
United States District Court for the District of ___\/1 7S wie, (Easkeca) was.only established as a Civil
Court pursuant to Title 28 U.S.C., and not a Criminal Court established under Title 18 U.S.C. as explained above in lines

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7. Petitioner asserts for the record, based on above mentioned facts, deny's, rejects, objects, and request that his original not
guilty plea be removed and/or stricken off the record, due to the fact that it was done without full disclosure, due to the facts

recently made known;

8. Petitioner asserts for the record, based on the above mention facts, Rebutt's the Presumption of Detention Order of Docket
entry 1’A4-CR-90313-Tst. pursuant to Title 18 U.S.C. in specific but not limited to section(s) 3142, 3141, 3041; Federal Rules

of Evidence 301; Federal Rules of Criminal Procedure Rule 1(b)(10);

9. Petitioner asserts for the record, based on above mentioned facts, to afford Petitioner the accuracy and Congressional
authority and Intent of such legislation to be updated, corrected and/or stricken from the record pursuant to Title 5 U.S.C. 552,

552a(e)(5),(d) F.O.LA/PRIVACY ACT;

1, \weeKs , JOYeDn. _do declare and affirm, that the above mentioned is true, correct, complete”
and not misleading to the best of my ability, under penalty of perjury, pursuant to United States Law, and
Vi COA a State Law;

Executed: O} / \\ /2019 Respectfully,

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